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                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Laura Lemke
                                           Plaintiff,
v.                                                        Case No.: 1:17−cv−06337
                                                          Honorable Thomas M. Durkin
Portfolio Recovery Assoicates, L.L.C.
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, November 3, 2017:


        MINUTE entry before the Honorable Thomas M. Durkin: Pursuant to notice of
voluntary dismissal, this action is hereby dismissed with prejudice. The 11/7/2017 status
date is vacated.Civil case terminated. Mailed notice(srn, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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